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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

  DIANA WAGHER and
  JASON WAGHER,
                                                      CASE NO.:
     Plaintiffs

  -VS-

  OCWEN LOAN SERVICING, LLC,

     Defendant.
                                       /

                       COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW Plaintiffs, DIANA WAGHER (“Diana”) and JASON WAGHER

  (“Jason”), (collectively “Plaintiffs”) by and through the undersigned counsel, and sue, OCWEN

  LOAN SERVICING, LLC (“Defendant”), and in support thereof respectfully allege violations of

  the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the Florida

  Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq. (“FCCPA”).

                                           INTRODUCTION

         1.       The TCPA was enacted to prevent companies like Ocwen Loan Servicing, LLC

  from invading American citizen’s privacy and prevent abusive “robo-calls.”

         2.       “The TCPA is designed to protect individual consumers from receiving intrusive

  and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct., 740, 745, 181,

  L.Ed. 2d 881 (2012).

         3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

  modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

  force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the


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  wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

  subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm

  Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

         4.      According to the Federal Communications Commission (FCC), “Unwanted calls

  and texts are the number one complaint to the FCC. There are thousands of complaints to the

  FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

  TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

  Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

  (May 27, 2015), http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

  333676A1.pdf.

                                   JURISDICTION AND VENUE


         5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

  ($75,000.00) exclusive of attorney fees and costs.

         6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

  28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

         7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

  action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

  shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

  of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

  Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

  746 F.3d 1242, 1249 (11th Cir. 2014)




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         8.      The current principal place of business of Defendant is in Palm Beach County,

  Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(1), as it is

  the judicial district in the State where the Defendant resides.

                                        FACTUAL ALLEGATIONS

         9.      Plaintiffs are natural persons, and citizen of the State of Pennsylvania, residing in

  Philadelphia, Philadelphia County, Pennsylvania.

         10.     Plaintiffs are “consumers” as defined in Florida Statute § 559.55(8).

         11.     Plaintiffs are the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

  1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

         12.     Defendant is a corporation which was formed in Delaware with its principal place

  of business located at 1661 Worthington Road #100, West Palm Beach, Florida 33409, and

  which conducts business in the State of Florida through its registered agent, Corporation Service

  Company, located at 1201 Hays Street, Tallahassee, Florida 32301.

         13.     The debt that is the subject matter of this Complaint is a “consumer debt” as

  defined by Florida Statute §559.55(6).

         14.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).

         15.     Defendant called Plaintiffs on each Plaintiff’s cellular telephone approximately

  one thousand (1000) times in an attempt to collect a debt.

         16.     Defendant attempted to collect an alleged debt from Plaintiffs by this campaign of

  telephone calls.

         17.     Upon information and belief, some or all of the calls the Defendant made to

  Plaintiffs’ cellular telephone number were made using an “automatic telephone dialing system”

  which has the capacity to store or produce telephone numbers to be called, using a random or


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  sequential number generator (including but not limited to a predictive dialer) or an artificial or

  prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

  “autodialer calls”). Plaintiffs will testify that they knew it was an autodialer because of the vast

  number of calls received, and because they heard a pause when they answered their phones

  before a voice came on the line.

         18.     Plaintiff, Diana, is the subscriber, regular user and carrier of the cellular telephone

  number (267) *** -3917 and Plaintiff, Jason, is the subscriber, regular user and carrier of the

  cellular telephone number (215) *** -5820 and were the called parties and recipients of

  Defendant’s calls.

         19.     Defendant placed an exorbitant number of calls to Plaintiff, Diana’s, cellular

  telephone (267) *** -3917 and to Plaintiff, Jason’s, cellular telephone (215) *** -5820 in an

  attempt to collect on a mortgage debt.

         20.     On several occasions since the Defendant’s campaign of calls began, Plaintiff,

  Diana, and Plaintiff, Jason instructed Defendant’s agent(s) to stop calling each of their cellular

  telephones.

         21.     In or about January of 2011, and on many other occasions, Plaintiff, Diana,

  answered an automated call from Defendant to her aforementioned cellular telephone number,

  held the line until an agent picked up, and informed an agent/representative of Defendant that the

  calls to her cellular phone were harassing, and demanded that they cease calling her

  aforementioned cellular telephone number.

         22.     In or about January of 2011, and on many other occasions, Plaintiff, Jason,

  answered an automated call from Defendant to his aforementioned cellular telephone number,




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  held the line until an agent picked up, and informed an agent/representative of Defendant that he

  wished for the calls to cease.

          23.    During the aforementioned phone calls with Defendant in or about January of

  2011, Plaintiffs unequivocally revoked any express consent Defendant had for placement of

  telephone calls to Plaintiffs’ aforementioned cellular telephone numbers by the use of an

  automatic telephone dialing system or a pre-recorded or artificial voice.

          24.    Each subsequent call the Defendant made to the Plaintiffs’ aforementioned

  cellular telephone number was knowing and willful.

          25.    Despite Plaintiffs’ repeated instructions on numerous occasions for Defendant to

  cease calling each cellular telephone, Defendant continued to place automated calls to Plaintiffs’

  cellular telephones against his clear wishes.

          26.    Defendant intentionally harassed and abused Plaintiffs on numerous occasions by

  calling several times in the same hour, during one day, and on back to back days, with such

  frequency as can reasonably be expected to harass.

          27.    Defendant has a corporate policy to use an automatic telephone dialing system or

  a pre-recorded or artificial voice to individuals just as it did to Plaintiffs’ cellular telephones in

  this case.

          28.    Defendant has a corporate policy to use an automatic telephone dialing system or

  a pre-recorded or artificial voice just as it did to Plaintiffs’ cellular telephones in this case, with

  no way for the consumers, Plaintiffs, or Defendant to remove the number.

          29.    Defendant’s corporate policy is structured so as to continue to call individuals like

  the Plaintiffs; despite these individuals explaining to Defendant they wish for the calls to stop.




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          30.    Defendant has numerous other federal lawsuits pending against it alleging similar

  violations as stated in this Complaint.

          31.    Defendant has numerous complaints across the country against it asserting that its

  automatic telephone dialing system continues to call despite requested to stop.

          32.    Defendant has had numerous complaints from consumers across the country

  against it asking to not be called; however, Defendant continues to call the consumers.

          33.    Defendant’s corporate policy provided no means for Plaintiff to have her number

  removed from Defendant’s call list.

          34.    Defendant has a corporate policy to harass and abuse individuals despite actual

  knowledge the called parties do not wish to be called.

          35.    Not a single call placed by Defendant to Plaintiffs were placed for “emergency

  purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

          36.    Defendant willfully and/or knowingly violated the TCPA with respect to the

  Plaintiffs.

          37.    From each and every call placed without consent by Defendant to Plaintiffs’ cell

  phone, each Plaintiff suffered the injury of invasion of privacy and the intrusion upon right of

  seclusion.

          38.    From each and every call without express consent placed by Defendant to

  Plaintiffs’ cell phones, Plaintiffs suffered the injury of occupation of their cellular telephone lines

  and cellular phones by unwelcome calls, making the phone unavailable for legitimate callers or

  outgoing calls while the phone was ringing from Defendant’s calls to Plaintiffs.

          39.    From each and every call placed without express consent by Defendant to

  Plaintiffs’ cell phones, Plaintiffs suffered the injury of unnecessary expenditure of their time. For


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  calls they answered, the time they spent on the call was unnecessary as they repeatedly asked for

  the calls to stop.

           40.    Even for unanswered calls, Plaintiffs had to waste time to unlock the phones and

  deal with missed call notifications and call logs that reflected the unwanted calls. This also

  impaired the usefulness of these features of Plaintiffs’ cellular phones, which are designed to

  inform the user of important missed communications.

           41.    Each and every call placed without express consent by Defendant to Plaintiffs’

  cell phone was an injury in the form of a nuisance and annoyance to Plaintiffs. For calls that

  were answered, Plaintiffs had to go to the unnecessary trouble of answering them. Even for

  unanswered calls, Plaintiffs had to waste time to unlock the phones and deal with missed call

  notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

  these features of Plaintiffs’ cellular phones, which are designed to inform the user of important

  missed communications.

           42.    Each and every call placed without express consent by Defendant to Plaintiffs’

  cell phone resulted in the injury of unnecessary expenditure of Plaintiffs’ cell phone’s battery

  power.

           43.    Each and every call placed without express consent by Defendant to Plaintiffs’

  cell phone where a voice message was left which occupied space in Plaintiffs’ phone or network.

           44.    Each and every call placed without express consent by Defendant to Plaintiffs’

  cell phone resulted in the injury of a trespass to Plaintiffs’ chattel, namely their cellular phone

  and their cellular phone services.

           45.    As a result of the calls described above, Plaintiffs suffered an invasion of privacy.




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          46.     Plaintiff, Diana, was also affect in a personal and individualized way by stress,

  anxiety, nervousness, embarrassment, distress, interruption of work and aggravation

          47.     Plaintiff, Jason, was also affect in a personal and individualized way by stress,

  anxiety, nervousness, embarrassment, anger and aggravation

                                               COUNT I
                                        (Violation of the TCPA)

          48.     Plaintiff, Diana, fully incorporates and realleges paragraphs one (1) through forty

  seven (47) as if fully set forth herein.

          49.     Defendant knowingly and willfully violated the TCPA with respect to Plaintiff,

  especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff,

  notified Defendant that she wished for the calls to stop.

          50.     Defendant repeatedly placed non-emergency telephone calls to Plaintiffs’ cellular

  telephone using an automatic telephone dialing system or prerecorded or artificial voice without

  Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

  227(b)(1)(A)(iii).

          WHEREFORE, Plaintiff, Diana Wagher, respectfully demand a trial by jury on all

  issues so triable and judgment against Defendant for statutory damages, punitive damages, actual

  damages, treble damages, enjoinder from further violations of these parts and any other such

  relief the court may deem just and proper.

                                               COUNT II
                                       (Violation of the FCCPA)

          51.     Plaintiff, Diana, fully incorporates and realleges paragraphs one (1) through forty

  seven (47) as if fully set forth herein.




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         52.      At all times relevant to this action Defendant is subject to and must abide by the

  laws of the State of Florida, including Florida Statute § 559.72.

         53.      Defendant has violated Florida Statute § 559.72(7) by knowingly and willfully

  communicating with the debtor or any member of his or her family with such frequency as can

  reasonably be expected to harass the debtor or his or her family.

         54.      Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other

  conduct which can reasonably be expected to abuse or harass the debtor or any member of his or

  her family.

         55.      Defendant contacted Plaintiff approximately 5 to 7 times per day from 2011

  through 2017.

         56.      Defendant’s calls begin at 7:30 a.m. and continue until 8:30 p.m., every day of the

  week including weekends.

         57.      Defendant’s calls interrupted Plaintiff’s work in supply chain purchasing.

         58.      Approximately 5 years ago, Plaintiff was once reprimanded at work for receiving

  personal phone calls when it was actually one of Defendant’s unwanted telephone calls.

         59.      Defendant’s calls have interrupted mealtimes.

         60.      Plaintiff’s initial revocation of consent to call her cellular telephone took place

  when she asked Defendant to stop calling her because she had already spoken to one of

  Defendant’s agents concerning Plaintiff’s mortgage.

         61.      Plaintiff made subsequent revocations to Defendant; given the duration of years

  during which Defendant placed calls, it is anticipated that a review of Defendant’s recordings

  will note the precise date of these subsequent revocations.




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           62.     Nevertheless, Defendant’s unwanted calls to Plaintiff’s cellular telephone

   continued.

           63.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

   continuous sustaining of damages as described by Florida Statute § 559.77.

           WHEREFORE, Plaintiff, Diana Wagher, respectfully demand a trial by jury on all

   issues so triable and judgment against Defendant for statutory damages, punitive damages, actual

   damages, costs, interest, attorney fees, enjoinder from further violations of these parts and any

   other such relief the court may deem just and proper.

                                              COUNT III
                                        (Violation of the TCPA)

           64.     Plaintiff, Jason, fully incorporates and realleges one (1) through forty seven (47)

   as if fully set forth herein.

           65.     Defendant knowingly and willfully violated the TCPA with respect to Plaintiff,

   especially for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff,

   notified Defendant that he wished for the calls to stop.

           66.     Defendant repeatedly placed non-emergency telephone calls to Plaintiffs’ cellular

   telephone using an automatic telephone dialing system or prerecorded or artificial voice without

   Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

   227(b)(1)(A)(iii).

           WHEREFORE, Plaintiff, Jason Wagher, respectfully demand a trial by jury on all issues

   so triable and judgment against Defendant for statutory damages, punitive damages, actual

   damages, treble damages, enjoinder from further violations of these parts and any other such

   relief the court may deem just and proper.



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                                               COUNT IV
                                        (Violation of the FCCPA)

           67.     Plaintiff, Jason, fully incorporates and realleges paragraphs one (1) through forty

   seven (47) as if fully set forth herein.

           68.     At all times relevant to this action Defendant is subject to and must abide by the

   laws of the State of Florida, including Florida Statute § 559.72.

           69.     Defendant has violated Florida Statute § 559.72(7) by knowingly and willfully

   communicating with the debtor or any member of his or her family with such frequency as can

   reasonably be expected to harass the debtor or his or her family.

           70.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other

   conduct which can reasonably be expected to abuse or harass the debtor or any member of his or

   her family.

           71.     Defendant contacted Plaintiff approximately 5 to 7 times per day from 2011

   through 2017.

           72.     Defendant’s calls begin at 7:30 a.m. and continue until 8:30 p.m., every day of the

   week including weekends.

           73.     Defendant’s calls interrupted Plaintiff’s work as a brick layer which requires

   precision and focus.

           74.     Defendant’s calls have interrupted mealtimes.

           75.     Plaintiff’s initial revocation of consent to call his cellular telephone took place

   when he asked Defendant to stop calling him because Defendant’s agents were calling his

   cellular telephone all day long.

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          76.     Plaintiff made subsequent revocations to Defendant; given the duration of years

   during which Defendant placed calls, it is anticipated that a review of Defendant’s recordings

   will note the precise date of these subsequent revocations.

          77.     Nevertheless, Defendant’s unwanted calls to Plaintiff’s cellular telephone

   continued.

          78.     Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

   continuous sustaining of damages as described by Florida Statute § 559.77.

          WHEREFORE, Plaintiff, Jason Wagher, respectfully demand a trial by jury on all issues

   so triable and judgment against Defendant for statutory damages, punitive damages, actual

   damages, costs, interest, attorney fees, enjoinder from further violations of these parts and any

   other such relief the court may deem just and proper.

                                                 Respectfully submitted,

                                                /s/Janelle Neal______________
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